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                                 UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                    )   Criminal No. 08-CR-256-L (4)
                                                )
12                       Plaintiff,             )   ORDER DENYING MOTION
                                                )   FOR REDUCTION OF
13 v.                                           )   SENTENCE PURSUANT
                                                )   TO 18 U.S.C. § 3582(c)(2)
14                                              )
     DAPHNE ROSALIND JACKSON,                   )
15                                              )
                         Defendant.             )
16                                              )
17         On September 10, 2010, Petitioner Daphne Rosalind Jackson (“Petitioner”), proceeding
18 pro se, filed a Motion to Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2). Petitioner’s
19 motion is based upon Amendment 706 to the Federal Sentencing Guidelines pertaining to crack
20 cocaine offenses. For the reasons set forth below, the Court DENIES Petitioner’s motion
21 without prejudice.
22         On January 6, 2009, Petitioner was sentenced to a mandatory minimum sentence of 120
23 months for Conspiracy to Distribute Crack Cocaine in violation of 21 U.S.C. §§ 841(a)(1) and
24 846. Petitioner is ineligible for a sentencing reduction under 18 U.S.C. § 3582(c)(2) for two
25 reasons. First, Amendment 706 was already in place at the time Petitioner was sentenced.
26 Amendment 706 became effective on November 1, 2007 and was made retroactive on March 3,
27 2008. Dillon v. United States, 130 S.Ct. 2683, 2688 (2010). Therefore Petitioner’s sentence was
28 not “based on a sentencing range that has subsequently been lowered by the Sentencing
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 1 Commission,” as required by § 3582(c)(2). 18 U.S.C. § 3582(c)(2) (emphasis added).
 2         Second, since Petitioner was subject to a statutory mandatory minimum sentence, she is
 3 ineligible for a sentencing reduction under Amendment 706. See United States v. Paulk, 569
 4 F.3d 1094, 1095-96 (9th Cir. 2009) (holding that a defendant sentenced pursuant to a statutory
 5 mandatory minimum is not entitled to a reduction of sentence under Amendment 706); U.S.S.G.
 6 § 1B1.10 app. note 1(A) (“a reduction in the defendant’s term of imprisonment is not authorized
 7 under 18 U.S.C. § 3582(c) and is not consistent with this policy statement if . . . an amendment
 8 does not have the effect of lowering the defendant’s applicable guideline range because of the
 9 operation of another . . . statutory provision (e.g., a statutory mandatory minimum term of
10 imprisonment.”).
11         The Court notes that on August 3, 2010, the Fair Sentencing Act of 2010 was signed into
12 law and decreases the criminal penalties for certain crack cocaine offenses. Because Petitioner’s
13 motion is based solely on Amendment 706, the Court declines to address whether the Fair
14 Sentencing Act retroactively applies to Petitioner’s conviction or whether the Act justifies a
15 reduction in her sentence. However, the Court will deny Petitioner’s motion without prejudice,
16 meaning that if the Fair Sentencing Act is made retroactive, Petitioner will not be estopped from
17 seeking a sentence reduction, if applicable to her case.
18         Accordingly, Petitioner’s Motion to Reduce Sentence Pursuant to 18 U.S.C.
19 § 3582(c)(2) is DENIED WITHOUT PREJUDICE.
20         IT IS SO ORDERED.
21
22 DATED: September 22, 2010
23
                                                     M. James Lorenz
24                                                   United States District Court Judge
25
26 COPIES TO:
27 PETITIONER
     U.S. ATTORNEY’S OFFICE
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